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                                   UNITED STATES DISTRICT COURT                            II·"···
                                 SOUTHERN DISTRICT OF CALIFORNIA!                                       OCT 2 S 2015

UNITED STATES OF AMERICA,
                                                                   Case No. 15CR1201-BTM .

                                             Plaintiff,
                         vs.
                                                                   JUDGMENT OF DISMISSAL
KARINA IBARRA [2],

                                           Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

     an indictment has been filed in another case against the defendant and the Court has
o    granted the motion ofthe Government for dismissal ofthis case, without prejudice; or

o    the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal, without prejudice; or

o    the Court has granted the motion of the defendant for a judgment of acquittal; or

o    a jury has been waived, and the Court has found the defendant not guilty; or

o    the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Indictment:
     18:1591(a) and (b); 18:1594(d) - Sex Trafficking of a Child; Criminal Forfeiture




Dated:     10/27/2015
